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                                                                          MAR 16 2020

                     UNITED STATES DISTRICT COURT
                                                                      t:;1st'·   H'\TTEN, Clerk
                                                                           ·M2A£ Deputy Clerk
                     NORTHERN DISTRICT OF GEORGIA


IN RE: COURT OPERATIO NS UNDER
THE EXIGENT CIRCUMSTANCES                             GENERAL ORDER 20-01
CREATED BY COVID-19 AND RELATED
CORONAVIRUS

                                       ORDER


      This General Order is being issued in response to the outbreak of Coronavirus

Disease 2019 (COVID-19) within the Northern District of Georgia and the rapidly evolving

threat to health and safety posed by that outbreak. The Court notes the increase in

confirmed cases of COVID-19 within the District and the Centers for Disease Control 's

(CDC) conclusion regarding the likelihood of more cases. The Court notes further the

January 31, declaration of the Secretary of Health and Human Services of a public health

emergency in the United States and the World Health Organization' s March 11, 2020

declaration of COVID-19 as a pandemic. The President of the United States has declared

a national emergency, and on March 14, 2020, the Governor of Georgia declared a public

health emergency. As of the date of this Order, there have been over 100 confirmed cases

of COVID-19 in the State of Georgia, including one death. For many, this disease poses a

serious risk of severe illness or even death. Populations identified by the CDC who are

particularly vulnerable include many members of the public who form our jury pools,

members of our Bar, Court staff, and Judges.
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        In February of this year, the Centers for Disease Control and Prevention issued

"Interim Guidance" recommending that all employers consider how best to decrease the

spread of COVID-19, including the review of guidance from state and local health

officials. 1. Significant actions taken to date in response to the threat include the cancellation

of essentially all events involving large gatherings of people, the closing of public and

private schools, colleges and universities, and the conversion of business and government

operations to telework platforms. In recognition of the number of identified and projected

cases of COVID-19 in this District, the preventative measures being implemented

throughout the District, and the severity ofrisk posed to the Court, its Bar, and to the public,

and given the above public health recommendations from public health authorities, it is

hereby ORDERED that, effective Monday, March 16, 2020:

       1) No jurors will be summoned for civil or criminal jury trials in any division of the

           Northern District of Georgia for 30 days from the date of this Order. All jury

           trials, including any trial specific deadlines, are CONTINUED for 30 days

           pending further Order of the Court;

       2) In-Court appearances for detention hearings, first appearances, and arraignments,

           for which alternative means are not possible or agreed to by the defendant, will

           be coordinated with the duty magistrate judge;




1 Interim Guidance for Businesses and Employers to Plan and Respond to Coronavirus Disease 2019 (CO VID-19),

February 2020, https://www.cdc.gov/coronavirus/2019-ncov/specific-groups/guidance-business-response.html (last
updated February 26, 2020).

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3) No grand jurors will be summoned, and all grand jury proceedings in this District

   are CONTINUED for 30 days pending further Order of the Court;

4) With regard to criminal matters, due to the Court' s reduced ability to obtain an

   adequate numbers of jurors and the effect of the above public health

   recommendations on the availability of counsel and Court staff to be present in

   the courtroom, the time period of the continuances implemented by this General

   Order will be excluded under the Speedy Trial Act, as the Court specifically finds

   that the ends of justice served by ordering the continuances outweigh the best

   interests of the public and any defendant ' s right to a speedy trial, pursuant to 18

   U.S.C. § 316l(h)(7)(A);

5) Individual judges presiding over criminal proceedings may take such actions

   consistent with this Order as may be lawful and appropriate to ensure the fairness

   of the proceedings and preserve the rights of the parties;

6) Individual judges may continue to hold hearings, conferences, and bench trials

   in the exercise of their discretion, consistent with this Order;

7) This Order does not affect the Court' s consideration of civil or criminal motions

   that can be resolved without oral argument.

8) For questions about an individual case, the attorney should contact the chambers

   of the presiding judge.

The Atlanta, Rome, Gainesville, and Newnan Courthouses will remain open. Staff



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in the Clerk's Office will be available by telephone, mail will be received, and intake desks

remain open for filing although social distancing measures will be enforced. Electronic

filings may still be made through the CM/ECF system. The public is encouraged to

continue utilizing Court services while following all applicable public health guidelines.



       Dated this ___J1L_ day of March 2020.




                                   THOMAS W. THRASH, JR.
                                   CHIEF UNITED STATES DISTRICT JUDGE




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